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                   EXHIBIT 4
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/     Oil Terminals / Kharg Oil Terminal

    Kharg Oil Terminal



    Kharg Oil Terminal

    Kharg Coral Island was formed by tectonic movements. This island has 35 kilometers distance from Genaveh coasts and in terms of geographic divisions, it is a part of Boushehr

    Town. This island has 8 kilometers length and 4 kilometers width. The altitude of the Island from sea level is around 3 meters. Its weather is humid and is mostly is associated

    with tropical winds. Due to its close distance to oilfield regions, its good offshore position and suitable depth for gigantic oil vessels berthing, Kharg Island has been recognized

    as the most suitable place for crude oils exports and loading site, and after concluding contract with oil consortium, the project of developing loading quays and crude oil

    reserves was initiated in it. Kharg terminal was run by South Oilfields Regions Company.




    In order to organize the entire oil terminals of the country, specialized and integrated management and promoting their performance to the international standards of oil terminals,

    the Iranian Oil Terminals Company was established in 2000.

    The oil produced in South Oilfields is first transferred to Ganaveh Multi-road Ganaveh from Ahvaz, Omidieh and Goreh Pumping house by pipelines, and after passing

    approximately 32 kilometers distance through 30 inch, 42 inch and a 52 inch pipelines in the seabed, the oil arrives Kharg Island. These lines continue to the storage reservoirs to

    transfer light and heavy crude oil and after arriving into pressure reduction substation, the oil arrives into reservoirs as per the type of oil (light and heavy), then the oil is directed

    towards western quay (Azarpad) by the two separate 78 inch pipelines each allocated to a special type of crude oil and is directed to the eastern quay (T) through four 78 inch

    pipelines. The crude oil is measured quantitatively by passing a metering system and ultimately, it enters into oil vessel on loading decks via loading arms.

    East Jetty T




    In 1950s after concluding contract with oil consortium and starting the crude oil storage reservoirs and loading jetties, first, the L-shaped eastern quay was completed. This quay

    is located in 100-meter distance of the eastern coast of the Island. It has around 1840 meters length and 40 meters distance. The eastern quay (T) has the berthing capability of

    five six (6) oil vessels to 275 thousand tons capacity at the same time.

    Western Jetty (Azarpad Jetty)




    Azarpad Quay is built in the west of the Island and in the sea in 1455 meters distance from the coast with berthing sites. Very large oil vessels up to 500 thousand tons capacity

    use this quay for loading and carrying oil. Azarpad quay is equipped with advanced navigation system, automatic and semi-automatic fire extinguishing, and the rotating and

    heating systems for preventing clotting. Presently, this quay has the capability of 3 oil vessels in 300 thousand to 500 thousand tons and more at the same time.

    Kharg General Operations

    Kharg general operations started its activities in 2002 by the order of the Minister of Petroleum for the purpose of organizing the non-industrialaffairs of companies, institutes,
    departments, organizations and local population of Kharg and the most important mission of this management is to prepare and launch comprehensive plan, organizing and
    renovating, providing civil development services, protecting environment and green environment, infrastructure support and services by the collaboration and cooperation of
    subsidiary companies of Ministry of Petroleum in Kharg, organizing the comprehensive plans of land, preparation, development, coordination, scheduling and supervising various
    areas of marine transportation, collection, division and recycling urban wastes, welfare services, education, health, transportation, air emergency, environment, passive defense and
    integrated critical management…which are cases of general duties of Kharg, as one of the sub-complex management of Iranian Oil Terminals.




    Links                                                                                                                                                    Contacts Us

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